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                  Exhibit D
IFILED:    ALBANY COUNTY CLERK 01/05/2023 04:23 PM)
                Case
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          SUPREME
          SUPREME  COURT
                   COURT  OF THE
                          OF THE STATE
                                 STATE OF NEW YORK
                                       OF NEW YORK
          COUNTY
          COUNTY     ALBANY
                  OF ALBANY
                  OF

           ANONYMOUS,
           ANONYMOUS,
                                                                     Index
                                                                     Index No:
                                                                           No:
                                                        Plaintiff,
                                                        Plaintiff,


                                 -- against
                                    against --                       ATTORNEY
                                                                     ATTORNEY AFFIRMATION
                                                                              AFFIRMATION


           MIKE
           MIKE TYSON,
                TYSON,


                                                      Defendant.
                                                      Defendant.




                 DARREN
                 DARREN SEILBACK,
                        SEILBACK, ESQ.,
                                  ESQ., an
                                        an attorney
                                           attorney at law,
                                                    at law, duly
                                                            duly admitted
                                                                 admitted to practice
                                                                          to practice law
                                                                                      law in
                                                                                          in the
                                                                                             the



          Courts
          Courts of the
                 of the State
                        State of New York,
                              of New York, hereby
                                           hereby affirms,
                                                  affirms, under
                                                           under penalties
                                                                 penalties of
                                                                           of perjury,
                                                                              perjury, as follows:
                                                                                       as follows:



                 1.
                 1.        am a member
                         I am   member of
                                       of the
                                          the law
                                              law firm
                                                  firm of ODDO &
                                                       of ODDO & BABAT,
                                                                 BABAT, P.C.,
                                                                        P.C., attorneys
                                                                              attorneys for
                                                                                        for the
                                                                                            the


                                                               "ANONYMOUS,"
          plaintiff
          plaintiff herein,
                    herein, identified
                            identified in the above
                                       in the above caption
                                                    caption as "ANONYMOUS," and
                                                            as                  as such,
                                                                            and as such, II am
                                                                                            am fully
                                                                                               fully


          familiar
          familiar with
                   with all the facts
                        all the facts and circumstances
                                      and circumstances concerning
                                                        concerning the instant
                                                                   the instant application.
                                                                               application.



                                                  RELIEF
                                                  RELIEF SOUGHT
                                                         SOUGHT

                 2.
                 2.      I submit
                           submit this
                                  this affirmation
                                       affirmation in support
                                                   in support of
                                                              of the
                                                                 the plaintiffs
                                                                     plaintiff's Order
                                                                                 Order to
                                                                                       to Show
                                                                                          Show Cause
                                                                                               Cause


                                                                      "ANONYMOUS,"
          pursuant
          pursuant to CRL
                   to CRL §50-B,
                          §50-B, allowing
                                 allowing the
                                          the plaintiff
                                              plaintiff to proceed
                                                        to proceed as "ANONYMOUS," and
                                                                   as              and pursuant
                                                                                       pursuant to
                                                                                                to



          22 NYCRR 216.1(a),
          22 NYCRR 216.1(a), permitting
                             permitting a limited
                                          limited sealing
                                                  sealing of the plaintiff's
                                                          of the plaintiff's deposition
                                                                             deposition transcripts
                                                                                        transcripts and
                                                                                                    and any
                                                                                                        any


          documents
          documents that
                    that may
                         may lead
                             lead to
                                  to the
                                     the plaintiffs
                                         plaintiff's identification
                                                     identification in all future
                                                                    in all future proceedings
                                                                                  proceedings in this
                                                                                              in this matter
                                                                                                      matter



          by the plaintiff
          by the plaintiff against
                           against the defendant,
                                   the defendant, MIKE
                                                  MIKE TYSON,
                                                       TYSON, together
                                                              together with
                                                                       with such
                                                                            such other
                                                                                 other and
                                                                                       and future
                                                                                           future relief
                                                                                                  relief



          as
          as this
             this Court
                  Court may
                        may deem
                            deem just and
                                 just and proper.
                                          proper. No
                                                  No prior
                                                     prior relief
                                                           relief of
                                                                  of this
                                                                     this matter
                                                                          matter has been
                                                                                 has been previously
                                                                                          previously


          requested.
          requested.


                                                 FACTUAL
                                                 FACTUAL HISTORY
                                                         HISTORY


                 3.
                 3.      As demonstrated
                         As demonstrated by plaintiffs
                                         by plaintiff's affidavit,
                                                        affidavit, plaintiff
                                                                   plaintiff clearly
                                                                             clearly has a viable
                                                                                     has   viable cause
                                                                                                  cause of
                                                                                                        of



          action
          action against
                 against the defendant.
                         the defendant. To
                                        To preserve
                                           preserve the anonymity
                                                    the anonymity of the plaintiff,
                                                                  of the plaintiff, the
                                                                                    the name
                                                                                        name and signature
                                                                                             and signature




                                                       1 of 5
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          has
          has been
              been redacted
                   redacted from
                            from the
                                 the affidavit.
                                     affidavit. However
                                                However the
                                                        the unredacted
                                                            unredacted copies
                                                                       copies will
                                                                              will be
                                                                                   be made
                                                                                      made available
                                                                                           available for
                                                                                                     for


          an
          an in-camera
             in-camera inspection
                       inspection on
                                  on the
                                     the return
                                         return date,
                                                date, should
                                                      should the Court
                                                             the Court request
                                                                       request so.
                                                                               so. For
                                                                                   For the
                                                                                       the sanctity
                                                                                           sanctity of
                                                                                                    of


          brevity
          brevity and
                  and to
                      to spare
                         spare the Court
                               the Court a factual
                                           factual recitation
                                                   recitation of
                                                              of the heinous rape
                                                                 the heinous rape endured
                                                                                  endured by
                                                                                          by the plaintiff, II
                                                                                             the plaintiff,


          rely
          rely on
               on but
                  but refrain
                      refrain from
                              from repeating
                                   repeating the
                                             the horrific
                                                 horrific details,
                                                          details, but
                                                                   but instead
                                                                       instead defer
                                                                               defer to
                                                                                     to the
                                                                                        the factual
                                                                                            factual statements
                                                                                                    statements


          in the plaintiff's
          in the plaintiff's affidavit
                             affidavit annexed
                                       annexed hereto.
                                               hereto.


                     4.
                     4.   These allegations
                          These allegations were
                                            were not
                                                 not simply
                                                     simply accepted
                                                            accepted as
                                                                     as reliable
                                                                        reliable or trustworthy by
                                                                                 or trustworthy by our firm.
                                                                                                   our firm.


          My
          My office
             office conducted
                    conducted a thorough
                                thorough and
                                         and incredulous
                                             incredulous investigation
                                                         investigation into
                                                                       into these
                                                                            these allegations
                                                                                  allegations and
                                                                                              and


          determined
          determined that
                     that they
                          they are
                               are highly
                                   highly credible.
                                          credible. Indeed,
                                                    Indeed, it
                                                            it turned
                                                               turned out
                                                                      out that
                                                                          that numerous
                                                                               numerous allegations
                                                                                        allegations have
                                                                                                    have


          been made
          been made against
                    against the
                            the defendant.
                                defendant.


                     5.
                     5.   Moreover, the
                          Moreover,     popularity and
                                    the popularity and celebrity
                                                       celebrity status
                                                                 status of
                                                                        of the
                                                                           the defendant
                                                                               defendant would
                                                                                         would certainly
                                                                                               certainly


          cause
          cause further
                further scrutiny
                        scrutiny to
                                 to the
                                    the plaintiff
                                        plaintiff. This
                                                   This will
                                                        will be
                                                             be in
                                                                in the
                                                                   the news
                                                                       news across
                                                                            across the
                                                                                   the country
                                                                                       country and
                                                                                               and plaintiffs
                                                                                                   plaintiff's


          identity
          identity must
                   must be protected.
                        be protected.



                                             PROCEDURAL
                                             PROCEDURAL HISTORY
                                                        HISTORY


                     6.
                     6.   Despite
                          Despite the overwhelming
                                  the overwhelming evidence
                                                   evidence that
                                                            that the
                                                                 the current
                                                                     current allegations
                                                                             allegations against
                                                                                         against defendant
                                                                                                 defendant


          Mike
          Mike Tyson
               Tyson are
                     are credible,
                         credible, it
                                   it is
                                      is most
                                         most unfortunate
                                              unfortunate that
                                                          that the
                                                               the instant
                                                                   instant application
                                                                           application is necessary.
                                                                                       is necessary.


                                  PROCEEDING ANONYMOUSLY
                                  PROCEEDING ANONYMOUSLY AS ANONYMOUS
                                                         AS ANONYMOUS

                     7.
                     7.   When
                          When a case
                                 case involves
                                      involves claims
                                               claims of
                                                      of sexual
                                                         sexual assault
                                                                assault and
                                                                        and sexual
                                                                            sexual misconduct,
                                                                                   misconduct, courts
                                                                                               courts have
                                                                                                      have


          allowed
          allowed a plaintiff
                    plaintiff to
                              to proceed
                                 proceed under
                                         under the
                                               the use
                                                   use of
                                                       of a
                                                          a pseudonym.
                                                            pseudonym. Due v.
                                                                       Due    New York
                                                                           v. New York University, 66
                                                                                       University,


          Misc.
          Misc. 3d
                3d 866,
                   866, 786 N.Y.S.2d
                        786 N.Y.S.2d 892
                                     892 (NY
                                         (NY Sup.
                                             Sup. Ct.
                                                  Ct. 2004),
                                                      2004), permitting
                                                             permitting the plaintiffs
                                                                        the plaintiffs to
                                                                                       to proceed
                                                                                          proceed


          anonymously
          anonymously in
                      in a sexual
                           sexual assault
                                  assault case;
                                          case; Sevens
                                                Sevens v. Brown,
                                                       v. Brown, 2012
                                                                 2012 N.Y.
                                                                      N.Y. Slip
                                                                           Slip Op
                                                                                Op 31823
                                                                                   31823 (sup.
                                                                                         (sup. Ct.,
                                                                                               Ct.,


          N.Y.
          N.Y. County
               County 2012),
                      2012), allowing
                             allowing the
                                      the plaintiff
                                          plaintiff to
                                                    to proceed
                                                       proceed under
                                                               under aa pseudonym
                                                                        pseudonym due
                                                                                  due to
                                                                                      to the
                                                                                         the deeply
                                                                                             deeply


          personal
          personal and
                   and sensitive
                       sensitive subject
                                 subject matter
                                         matter involving
                                                involving sexually
                                                          sexually transmitted
                                                                   transmitted diseases;
                                                                               diseases; Doe v.v. Szul
                                                                                         Doe      Szul


          Jewelry, N.Y.
          Jewelry, N.Y. Slip
                        Slip Op
                             Op 31382
                                31382 (NY
                                      (NY Sup.
                                          Sup. Ct.
                                               Ct. 2008),
                                                   2008), permitting
                                                          permitting the
                                                                     the plaintiff
                                                                         plaintiff to
                                                                                   to use
                                                                                      use a pseudonym
                                                                                            pseudonym in
                                                                                                      in




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          an
          an action
             action involving
                    involving claims
                              claims related to
                                     related to sexual
                                                sexual harassment;
                                                       harassment; Jane
                                                                   Jane Doe
                                                                        Doe 1 v.v. Beth
                                                                                   Beth Israel Med.
                                                                                        Israel Med. Ctr.,
                                                                                                    Ctr.,


          2018
          2018 NY Slip
               NY Slip Op
                       Op 31964
                          31964 (Sup.
                                (Sup. Ct.),
                                      Ct.), where
                                            where a plaintiff
                                                    plaintiff alleges
                                                              alleges sexual
                                                                      sexual assault
                                                                             assault and
                                                                                     and misconduct.
                                                                                         misconduct.


                  8.
                  8.     Additionally,
                         Additionally, Civil
                                       Civil Rights Law
                                             Rights Law §50-b
                                                        §50-b also
                                                              also provides
                                                                   provides authority
                                                                            authority for the plaintiff
                                                                                      for the plaintiff to
                                                                                                        to


          proceed
          proceed anonymously
                  anonymously in
                              in this
                                 this case.
                                      case. Anonymity
                                            Anonymity in
                                                      in a civil
                                                           civil lawsuit
                                                                 lawsuit under
                                                                         under §50-b
                                                                               §50-b has
                                                                                     has been
                                                                                         been permitted
                                                                                              permitted


          where
          where the actions
                the actions alleged
                            alleged relate to
                                    relate to a criminal
                                                criminal act
                                                         act where
                                                             where substantial
                                                                   substantial evidence
                                                                               evidence exists
                                                                                        exists that aa sex
                                                                                               that    sex


          offense
          offense has
                  has been
                      been committed.
                           committed. Specifically,
                                      Specifically, plaintiffs
                                                    plaintiffs are
                                                               are permitted
                                                                   permitted to
                                                                             to proceed
                                                                                proceed anonymously
                                                                                        anonymously on
                                                                                                    on


          cases
          cases that involve
                that involve sexual
                             sexual abuse.
                                    abuse. Doe v.
                                           Doe v. Szul
                                                  Szul Jewelry.
                                                       Jewelry. Inc., 2008
                                                                Inc., 2008 N.Y.
                                                                           N.Y. Slip
                                                                                Slip Op
                                                                                     Op 31382(U)
                                                                                        31382(U) (Sup.
                                                                                                 (Sup.


          Ct.).
          Ct.).   To
                  To obtain
                     obtain anonymity,
                            anonymity, there
                                       there must
                                             must be
                                                  be a
                                                     a showing
                                                       showing that
                                                               that the
                                                                    the privacy
                                                                        privacy interest
                                                                                interest involved
                                                                                         involved is
                                                                                                  is


          substantial,
          substantial, so
                       so as
                          as to
                             to overcome
                                overcome the
                                         the presumption
                                             presumption of
                                                         of openness
                                                            openness that
                                                                     that attends
                                                                          attends  judicial proceedings.
                                                                                  judicial  proceedings.
                                                                               Plaintiffs'
          Doe
          Doe v. Kidd,
              v. Kidd, 19 Misc. 3d
                       19 Misc. 3d 782,
                                   782, 788,
                                        788, 860 N.Y.S.2d 866
                                             860 N.Y.S.2d 866 (Sup.
                                                              (Sup. Ct.
                                                                    Ct. 2008).
                                                                        2008). Plaintiffs' privacy
                                                                                           privacy


          interests,
          interests, although
                     although not recognized under
                              not recognized under New
                                                   New York
                                                       York State's
                                                            State's common
                                                                    common law,
                                                                           law, is
                                                                                is found
                                                                                   found in
                                                                                         in the
                                                                                            the Civil
                                                                                                Civil


          Rights
          Rights Law.
                 Law. Stephano
                      Stephano v. News
                               v. News Group
                                       Group Publs, 64
                                             Publs, 64 N.Y.2d
                                                       N.Y.2d 174,
                                                              174, 474
                                                                   474 N.E.2d
                                                                       N.E.2d 580,
                                                                              580, 485
                                                                                   485 N.Y.S.2d
                                                                                       N.Y.S.2d 220
                                                                                                220


          (Ct.
          (Ct. of
               of App.
                  App. 1984);
                       1984); Arrington v.v. New
                              Arrington      New York
                                                 York Times
                                                      Times Co.,
                                                            Co., 55
                                                                 55 N.Y.2d
                                                                    N.Y.2d 433,
                                                                           433, 434
                                                                                434 N.E.2d
                                                                                    N.E.2d 1319,
                                                                                           1319, 449
                                                                                                 449


          N.Y.S.2d
          N.Y.S.2d 941 (Ct.
                   941 (Ct. of
                            of App.
                               App. 1982).
                                    1982).


                  9.
                  9.     In
                         In determining
                            determining to
                                        to request
                                           request to
                                                   to proceed
                                                      proceed anonymously,
                                                              anonymously, the Doe v.v. Szul
                                                                           the Doe      Szul Jewelry
                                                                                             Jewelry court
                                                                                                     court


          considered:
          considered:


                          "Whether
                          "Whether            the    justification asserted
                                              the justification              asserted          by
                                                                                               by thethe requesting
                                                                                                            requesting          party
                                                                                                                                party      is
                                                                                                                                           is merely
                                                                                                                                                merely
                        to avoid
                        to    avoid        the annoyance
                                           the     annoyance           and
                                                                       and       criticism
                                                                                 criticism          that may
                                                                                                    that     may attendattend      any     litigation
                                                                                                                                   any litigation
                        or
                        or       is
                                 is toto preserve
                                            preserve           privacy
                                                               privacy         in
                                                                               in a   a matter
                                                                                            matter         of
                                                                                                           of a a sensitive
                                                                                                                     sensitive         and
                                                                                                                                       and       highly
                                                                                                                                                 highly
                        personal
                        personal              nature;
                                              nature;         whether
                                                               whether          the
                                                                                the      party
                                                                                         party          seeking
                                                                                                        seeking         anonymity
                                                                                                                         anonymity            has
                                                                                                                                              has      an
                                                                                                                                                       an
                        illegitimate
                         illegitimate             ulterior
                                                  ulterior        motive;
                                                                  motive;        the
                                                                                 the      extent
                                                                                          extent        to
                                                                                                        to   which
                                                                                                             which        the
                                                                                                                           the   identity
                                                                                                                                 identity         of
                                                                                                                                                  of  the
                                                                                                                                                      the
                        litigant has
                        litigant          has been been kept  kept confidential;
                                                                      confidential;               whether
                                                                                                  whether          identification
                                                                                                                   identification            poses aa
                                                                                                                                             poses
                        risk
                        risk       of
                                   of mental
                                        mental          or
                                                        or physical
                                                             physical          harm,
                                                                               harm,         harassment,
                                                                                             harassment,              ridicule
                                                                                                                      ridicule        or   personal
                                                                                                                                      or personal
                        embarrassment;
                        embarrassment;                    whether
                                                           whether        the
                                                                          the case
                                                                                 case involves
                                                                                            involves         information
                                                                                                             information            of
                                                                                                                                    ofthethe utmost
                                                                                                                                                 utmost
                        intimacy;
                         intimacy;            whether
                                              whether          the
                                                               the action
                                                                      action        is
                                                                                    is against
                                                                                         against          aa governmental
                                                                                                              governmental               entity;
                                                                                                                                         entity;      the
                                                                                                                                                      the
                        magnitude
                        magnitude               of
                                                 of the       public interest
                                                       the public          interest          in
                                                                                             in maintaining
                                                                                                   maintaining              confidentiality
                                                                                                                            confidentiality             or
                                                                                                                                                        or
                        knowing
                        knowing             the
                                            the    party's
                                                   party's         identity;
                                                                   identity;        whether
                                                                                    whether            revealing
                                                                                                       revealing          the
                                                                                                                          the    identity
                                                                                                                                 identity         of
                                                                                                                                                  of  the
                                                                                                                                                      the
                        party
                        party        will
                                     will     dissuade
                                              dissuade          the
                                                                the party
                                                                      party      from
                                                                                 from         bringing
                                                                                              bringing         the
                                                                                                               the lawsuit;
                                                                                                                      lawsuit;        whether
                                                                                                                                      whether         the
                                                                                                                                                      the
                        opposition
                        opposition              to
                                                to anonymity
                                                      anonymity           has
                                                                          has     an
                                                                                  an     illegitimate
                                                                                         illegitimate            basis;
                                                                                                                 basis;       and
                                                                                                                              and     whether
                                                                                                                                      whether         the
                                                                                                                                                      the
                                                                                                           pseudonym."
                        other
                        other       side
                                    side will will     be
                                                       be prejudiced
                                                            prejudiced          by
                                                                                by use use of  ofthethe pseudonym."




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                    10.
                    10.   It is
                          It is beyond
                                beyond civility,
                                       civility, that
                                                 that due to the
                                                      due to the deeply
                                                                 deeply personal and
                                                                        personal and sensitive
                                                                                     sensitive subject
                                                                                               subject matter
                                                                                                       matter


          involving
          involving sexual
                    sexual abuse,
                           abuse, assault
                                  assault and
                                          and battery,
                                              battery, the plaintiff
                                                       the plaintiff should
                                                                     should be permitted
                                                                            be permitted to
                                                                                         to proceed
                                                                                            proceed


          anonymously.
          anonymously.


                          GRANTING
                          GRANTING I \ I ITED SEALING
                                   LIMITED    SEALING UNDER 22
                                                      UNDER 22 NYCRR
                                                               \, YCRR 216.1(a)
                                                                       216.1(a)


                    11.
                    11.   New
                          New York
                              York law
                                   law presumptively
                                       presumptively favors
                                                     favors broad access
                                                            broad access by
                                                                         by the
                                                                            the public
                                                                                public and
                                                                                       and the
                                                                                           the press
                                                                                               press to
                                                                                                     to


          judicial proceedings
         judicial  proceedings and
                               and court
                                   court records,
                                         records, placing
                                                  placing the
                                                          the burden
                                                              burden on
                                                                     on the
                                                                        the party
                                                                            party favoring
                                                                                  favoring sealing
                                                                                           sealing to
                                                                                                   to show
                                                                                                      show


          aa compelling
             compelling interest
                        interest that
                                 that likely
                                      likely would
                                             would be harmed by
                                                   be harmed by granting
                                                                granting public
                                                                         public access.
                                                                                access. Mosallem
                                                                                        Mosallem v.
                                                                                                 v.


          Berenson,
          Berenson, 76 A.D.3d
                    76 A.D.3d 345,
                              345, 905
                                   905 N.Y.S.2d
                                       N.Y.S.2d 575
                                                575 (First
                                                    (First Dept.
                                                           Dept. 2010);
                                                                 2010); Mancheski
                                                                        Mancheski v.
                                                                                  v. Gabelli
                                                                                     Gabelli Group
                                                                                             Group


          Capital
          Capital Partners,
                  Partners, 39
                            39 A.D.3d
                               A.D.3d 499,
                                      499, 835
                                           835 N.Y.S.2d
                                               N.Y.S.2d 595
                                                        595 (Second
                                                            (Second Dept.
                                                                    Dept. 2007).
                                                                          2007). However,
                                                                                 However, "the
                                                                                          "the right
                                                                                               right of
                                                                                                     of


                        absolute."
          access
          access is
                 is not
                    not absolute."   Danco
                                     Danco Labs.
                                           Labs. v.
                                                 v. Chemical
                                                    Chemical Works
                                                             Works of
                                                                   of Gedeon
                                                                      Gedeon Richter,,
                                                                             Richter,  274
                                                                                       274 A.D.2d
                                                                                           A.D.2d 1,
                                                                                                  1, 711
                                                                                                     711


          N.Y.S.2d
          N.Y.S.2d 419
                   419 (First
                       (First Dept.
                              Dept. 2000),
                                    2000), and
                                           and a court
                                                 court determining
                                                       determining whether
                                                                   whether there
                                                                           there is
                                                                                 is good
                                                                                    good cause
                                                                                         cause for
                                                                                               for sealing
                                                                                                   sealing


          court
          court records
                records pursuant
                        pursuant to
                                 to 22 NYCRR 216.1(a)
                                    22 NYCRR 216.1(a) must
                                                      must weigh
                                                           weigh the
                                                                 the competing
                                                                     competing interests
                                                                               interests of the public
                                                                                         of the public


          and
          and the
              the parties,
                  parties, authorizing
                           authorizing the
                                       the sealing
                                           sealing only
                                                   only in
                                                        in the
                                                           the prudent
                                                               prudent exercise
                                                                       exercise of
                                                                                of the
                                                                                   the court's
                                                                                       court's discretion.
                                                                                               discretion. See
                                                                                                           See


         supra
         supra Mancheski
               Mancheski v.
                         v. Gabelli.
                            Gabelli.


                    12.
                    12.   The
                          The Supreme
                              Supreme Court
                                      Court conducted
                                            conducted an
                                                      an independent
                                                         independent review
                                                                     review of,
                                                                            of, and
                                                                                and made
                                                                                    made specific
                                                                                         specific


          factual
          factual findings
                  fmdings  with
                           with respect
                                respect to,
                                        to, each
                                            each of
                                                 of the
                                                    the documents
                                                        documents at
                                                                  at issue,
                                                                     issue, rendering
                                                                            rendering a sealing
                                                                                        sealing order
                                                                                                order


          appropriately
          appropriately tailored
                        tailored to
                                 to the
                                    the circumstances.
                                        circumstances. Notable,
                                                       Notable, the
                                                                the court
                                                                    court determined
                                                                          determined that
                                                                                     that only
                                                                                          only certain
                                                                                               certain


          documents
          documents would
                    would be
                          be sealed
                             sealed O'Reilly
                                    O'Reilly v. Klar,
                                             v. Klar, 167
                                                      167 A.D.3d
                                                          A.D.3d 919,
                                                                 919, 90
                                                                      90 N.Y.S.3d
                                                                         N.Y.S.3d 242
                                                                                  242 (Second
                                                                                      (Second Dept.
                                                                                              Dept.


          2018).
          2018).


                    13.
                    13.   In
                          In the
                             the instant
                                 instant matter,
                                         matter, the
                                                 the plaintiff
                                                     plaintiff is
                                                               is asking
                                                                  asking that
                                                                         that in
                                                                              in the
                                                                                 the litigation
                                                                                     litigation of
                                                                                                of this
                                                                                                   this matter
                                                                                                        matter


          deposition
          deposition transcripts be
                     transcripts    under a sealing
                                 be under   sealing order
                                                    order as
                                                          as well
                                                             well as
                                                                  as any
                                                                     any other
                                                                         other documents,
                                                                               documents, records,
                                                                                          records, etc.,
                                                                                                   etc., that
                                                                                                         that


          would
          would contain
                contain names or
                        names or pedigree
                                 pedigree information
                                          information that
                                                      that could
                                                           could result
                                                                 result in
                                                                        in their
                                                                           their identities
                                                                                 identities being
                                                                                            being


          determined.
          determined. Given
                      Given the
                            the circumstances
                                circumstances of
                                              of the
                                                 the highly
                                                     highly sensitive
                                                            sensitive nature
                                                                      nature of
                                                                             of the
                                                                                the acts
                                                                                    acts the
                                                                                         the plaintiff
                                                                                             plaintiff has
                                                                                                       has




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NYSCEF DOC. NO. Case
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                                                                         Page 6 of 6
                                                                                 NYSCEF: 01/06/2023




          been
          been subjected
               subjected to,
                         to, plus
                             plus the
                                  the popularity
                                      popularity and
                                                 and celebrity
                                                     celebrity status
                                                               status of
                                                                      of the
                                                                         the defendant,
                                                                             defendant, this
                                                                                        this strikes
                                                                                             strikes a fair
                                                                                                       fair


          balance
          balance and
                  and is
                      is narrowly
                         narrowly tailored.
                                  tailored.


                                                  CONCLUSION
                                                  CONCLUSION


                 14.
                 14.     Accordingly,
                         Accordingly, the
                                      the Court
                                          Court should
                                                should execute
                                                       execute an
                                                               an Order
                                                                  Order letting
                                                                        letting the
                                                                                the defendant
                                                                                    defendant show
                                                                                              show cause
                                                                                                   cause


                                                                      "ANONYMOUS,"
          pursuant
          pursuant to
                   to CRL
                      CRL §50-b,
                          §50-b, allowing
                                 allowing the
                                          the plaintiff
                                              plaintiff to
                                                        to proceed
                                                           proceed as
                                                                   as "ANONYMOUS," and
                                                                                   and pursuant
                                                                                       pursuant to
                                                                                                to


          22
          22 NYCRR
             NYCRR 216.1(a),
                   216.1(a), permitting
                             permitting a limited
                                          limited sealing
                                                  sealing of
                                                          of the
                                                             the plaintiff's
                                                                 plaintiff's deposition
                                                                             deposition transcripts
                                                                                        transcripts and
                                                                                                    and any
                                                                                                        any


          documents
          documents that
                    that may
                         may lead
                             lead to
                                  to plaintiffs
                                     plaintiff's identification
                                                 identification in
                                                                in all
                                                                   all future
                                                                       future proceedings
                                                                              proceedings in
                                                                                          in this
                                                                                             this matter
                                                                                                  matter by
                                                                                                         by


          the
          the plaintiff
              plaintiff against
                        against the
                                the defendant,
                                    defendant, MIKE
                                               MIKE TYSON,
                                                    TYSON, together
                                                           together with
                                                                    with such
                                                                         such other
                                                                              other and further
                                                                                    and further relief
                                                                                                relief as
                                                                                                       as


          this
          this Court
               Court may
                     may deem
                         deem just and
                              just and proper.
                                       proper.


          Dated:
          Dated: New
                 New York,
                         York,   New
                                 New York
                                     York
                 January
                 January     5,
                             5, 2023
                                2023




                                                               DAR
                                                               DARF5H SEILBACK,
                                                                      SEILBACK, ESQ.
                                                                                ESQ.




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